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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

MARCUS SIMS,                              :          MOTION TO VACATE
Reg. # 60136-019,                         :          28 U.S.C. § 2255
                                          :
                    Movant,               :          CRIMINAL ACTION NO.
                                          :          1:08-CR-0209-2-CC-JSA
vs.                                       :
                                          :          CIVIL ACTION NO.
UNITED STATES OF AMERICA,                 :          1:12-CV-0252-CC-JSA
                                          :
                    Respondent.           :

                                       ORDER
      This matter is before the Court on the Final Report and Recommendation (the
“R&R”) [Doc. No. 139] issued by Magistrate Judge Justin S. Anand on March 27,
2013, recommending that Petitioner Marcus Sims’s motion to vacate sentence be
denied and that a certificate of appealability also be denied. The record reflects that
no objections to the R&R have been filed and that the time period permitted for
filing any such objections has elapsed.
      Having conducted a plain error review of the R&R in accordance with United
States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983), the Court finds that the R&R is
correct both in fact and in law. Accordingly, the Court ADOPTS the R&R as the
decision of this Court. For the reasons stated therein, the Court DENIES Petitioner’s
motion to vacate sentence and DENIES the issuance of a certificate of appealability.


                                  SO ORDERED this 25th day of April, 2013.



                                  s/ CLARENCE COOPER
                                  CLARENCE COOPER
                                  SENIOR UNITED STATES DISTRICT JUDGE
